             Case 1-22-01076-nhl            Doc 2       Filed 09/21/22          Entered 09/21/22 10:16:14


                              UNITED STATES BANKRUPTCY COURT
                                   Eastern District of New York
                               NOTE: All documents filed in this matter must be identified by both
                            adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: Mendel Paneth                                                                  Bankruptcy Case No.: 1−22−41414−nhl

Kidline Enterprises Inc.
David Reiner
                                                         Plaintiff(s),
−against−                                                                        Adversary Proceeding No. 1−22−01076−nhl
Mendel Paneth
                                                        Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                     United States Bankruptcy Court
                                                     271−C Cadman Plaza East, Suite 1595
                                                     Brooklyn, NY 11201−1800
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's Attorney:
                                                           Mark A. Frankel
                                                           Backenroth Frankel & Krinsky LLP
                                                           800 Third Avenue
                                                           11th Floor
                                                           New York, NY 10022

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.


Location:                                                          Date and Time:
United States Bankruptcy Court, 271−C Cadman Plaza East, Courtroom November 15, 2022 at 11:00 AM
3577 − 3rd Floor, Brooklyn, NY 11201−1800


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




Dated: September 21, 2022                                 Robert A. Gavin, Jr., Clerk of the Court
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Summons [Summons and Notice of Pretrial Conf. rev. 05/27/2016]
